Case 19-03201-jw          Doc 56        Filed 07/08/19 Entered 07/08/19 17:41:45                        Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA

  IN RE:                                        )
                                                )
  Walter Frank Pigg                             )        CASE NO: 19-03201-jw
  PO Box 805                                    )
  North Myrtle Beach, SC 29597                  )        CHAPTER 13
  SSN xxx-xx-7007                               )
                                                )
                             DEBTOR.            )


                                 NOTICE OF OPPORTUNITY TO OBJECT

           The debtor(s) in the above captioned case fi led a chapter 13 plan on Jul y 8, 20 19. The plan is
  included with this notice or was mail ed separately.

           Vour rights may be affected by the plan. You should read the plan carefully and discuss it
  with your attorney, if you have one in this bankruptcy case. (If yo u do not have an attorney, you may
  wish to consult one.)

             Any objection to confirmation of the chapter 13 plan must be in writing filed with the Court at
   I I 00 Laure l Street, Co lu mbia, SC 2920 1-2423 and served on the chapter 13 trustee, the debtor(s), and any
  attorney for the debtor(s) no later than 2 1 days after the service of the chapter 13 plan, as computed under
  Fed. R. Bankr. P. 9006(a). Objections to confirmation may be overruled if fil ed late or the objecting party
  fai ls to appear and prosecute the objection. Ifno objection is timely filed, the plan may be confirmed by the
  Court without further notice.

            If you file an objection, you or your attorney mu st attend the hearing sched uled by the court on
  confirmation of the plan. Notice of the confirmation hearing is provided in sect ion 9 of th e Notice of
  Chapter 13 Bankruptcy Case. However, the Court may set an earli er status hearing on any objection upon
  notice to the applicab le parties.

            lf you or your attorney do not take these steps, the co urt may determine that yo u do not oppose
  the terms or relief sought in the plan and may enter an order confirming the plan.


                                                                   Isl Elizabeth R. Heilig
                                                          Robert R. Meredith, Jr., D.C. ID #6 152
                                                          Elizabeth R. Heilig, D.C. ID # I0704
                                                          Meredith Law Firm, LLC
                                                          Attorneys for Debtor
                                                          24 1I North Oak Street, Suite I07
  Date:    718120 19                                      Myrtle Beach, SC 29577
                                                          843-445-6300
               Case 19-03201-jw                             Doc 56           Filed 07/08/19 Entered 07/08/19 17:41:45                       Desc Main
Fill 111 this information to identif our case:                               Document      Page 2 of 11
Debtor I                Walter Frank Pigg
                              First Name              Middle Name                  Last Name
                                                                                                                   •         Check if thi s is a modified plan , and
                                                                                                                             Iist below th e sec tions of the plan that
                                                                                                                             have bee n changed.
Debtor 2
(Spouse, if filin g) First Name       Middl e                    ame               Last Name
United States Bankruptcy Co urt for tbe:                                 DISTRICT OF SOUTH CAROLINA
                                                                                                                   •         Pre-confirmation modification

Case numb er:                  19-03201
                                                                                                                   •         Post-confirmation modification

(I f known)



District of South Carolina
Chapter 13 Plan                                                                                                                                                  5/19


•MM Notices
To Debtor(s):               This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                            indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                            Federal Rules of Bankruptcy Procedure, this Court's local rules, and judicial rulings may not be confirmable.

To Creditors:               Your rights may be affected by this plan . Your claim may be reduced, modified, or eliminated.

                            You shoul d read this p lan carefull y and discuss it with your attorn ey if you have one in this bankruptcy case. If you do not have
                            an atto rn ey, yo u may w ish to co nsult o ne. Fa ilure to obj ect may constitute an implied acceptance of and consent to th e reli ef
                            requested in this document.

                            Jfyou oppose the plan ' s treatm ent of your claim or any prov ision of this plan, you or your attorn ey mu st fi le a time ly objection to
                            confomation. To determine the deadline to object to this plan , you must consult the Notice of Bankruptcy Case or
                            applicable Notice/Motion served with this plan . T he Bankruptcy Cou11 may confinn thi s pl an w ithout further notice if no
                            objectio n to confirmation is filed . See Bankruptcy Rule 30 15. In addition, pursuant to Federal Ru le of Bankruptcy Procedure
                            3002, you must file a timely proof of claim in o rder to be paid under any plan. Confirmation of thi s plan does not bar a party in
                            interest from objecting to a claim .

                            The fol lowing matters may be of parti cular importance. Debtors must check one box 011 each line to state whether or not the
                            plan includes each of the following items. If an item is checked as "Not lncl11ded" or if both boxes are checked, the provision
                            will be ineffective if set out later i11 the plan.

 I.I          A limit on the amount of a secured claim, set out in Section 3.2, which may result in                     Included               D    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                   D   Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                                Included               D    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                              D   Included                    Not Included
              throu~h plan, set out in Section 3.l(c) and in Part 8

iQfflM Plan Payments and Length of Plan
2.1       T he debtor submits to the superv ision and control of the tru stee al l or such po11ion of future earnin gs or other future inco me as is necessa ry
for the executi o n of the plan.

U nless all all owed claims (other than long-term claims) are fully paid pursuant to the plan , the debtor will make regular payments to the trustee as
follows:

$990.00 per Month for 60 months

The debtor and trustee may stipulate to a hi gher payment in order to provide adequate funding of the plan without the necess ity of a modifi cation to
the plan. The stipu lation is effective upon filing with th e Court.

Add itional monthly payments wil l be made to th e exte nt necessary to mak e the payments to creditors specifi ed in thi s p lan.

2.2           Regular payments to the trustee will be made from future income in the following manner:

               D            The debtor will make payments pursuant to a payro ll ded uction order.
                            The debtor wi ll make pay ments directl y to the trustee.
               D            Other (specify method of p ayment):

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Debtor                 Walter Frank Pigg                                                                Case numb er        19-03201

2.3 Income tax refunds.

                           The debtor w ill reta in any income tax refunds received during the p lan term.
              0            The debtor wi ll treat income refunds as fo llows:

2.4 Additional payments.

                           None. If"None" is checked, the rest of § 2.4 need not be completed or reproduced.

•@@ Treatment of Secured Claims
To rece ive a distribution from the trustee, a proof of claim, including adequate supporting documentation and fi led in compli ance with Official Rules
and Forms, must be filed with the Com1. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan . However, ifa
claim is treated as secured in a confirmed p lan and the affected creditor elects to fil e an unsecured claim, such claim, unl ess tim ely amended, shall be
treated as unsec ured for purposes of p lan di stribution . Any creditor holding a c laim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan wi ll receive no fun her distribution from the chapte r 13 trustee on account of any
secured claim . This provision also app li es to cred itors who may cla im an interest in , or li en on, property that is removed from the protection of th e
automatic stay by another li enh older or released to anoth er li enho lder, unl ess the Court orders otherwise, but does not app ly if th e sole reason for its
app li cation ari ses under 11 U.S .C . § 362(c)(3) or (c)(4). Any funds that wou ld have otherwise been paid to a cred itor, but pursuant to these
provisions will not be paid, w ill be distributed according to the remaining terms of the plan . Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemi zed proof of claim for any un secured deficiency within a reasonab le time after the removal of the
property from the protection of the automatic stay. Secured creditors that w ill be paid directly by the debtor may continue sending standard payment
and escrow notices, payment co up ons, or in quiries about insurance, and such act ion w ill not be co ns idered a v iolati on of the automati c stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

                           None. Jf"None" is checked, the rest of§ 3. 1 need not be completed or reproduced.

3.2           Request for valuation of security and modification of undersecured claims.

              0            None. lf "None" is checked, the rest of§ 3.2 need not be co mpl eted or reprod uced.
                           The remainder of this paragraph will be effective 011/y if the applicable box in Part 1 of this plan is checked.

                                     The debtor requests that th e Court determ ine the value of the secured cla im s li sted below. For each non-governmental
                           secured cla im listed below, the debtor states that the va lue of the secured claim should be as set out in the co lu mn headed
                           Estimated amount of secured claim. For secured clai ms of governmental units, unless otherwise ordered by the Com1 after
                           motion or claims objection filed after the governmenta l unit files its proof of claim or after th e time fo r filing one has expired, the
                           value of a seemed claim listed in a proof of claim filed in accordance with the Bankruptcy Ru les contro ls over any contra ry
                           amount listed below. For each listed c la im, the va lue of th e secured claim w ill be paid in fu ll w ith interest at the rate stated
                           below.
                                     The ponion of any al lowed claim that exceeds the amou nt of the secured claim wi ll be treated as an unsecured claim
                           under Part 5. 1 of th is plan. If the estimated amount of a cred itor' s secured claim is li sted below as hav ing no val ue, th e creditor 's
                           allowed claim wi ll be treated in its entirety as an un secured claim un der Part 5. 1 of this plan. U nl ess otherwise ordered by th e
                           Cow·t, the amount of the creditor's total claim li sted on the proof of claim contro ls over any contra1y amou nts listed in this
                           paragraph .
                                      Unless 11 U.S.C. § l 325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent prov ided by
                           section 1325(a)(5)(B)(i). Unless there is a non -filing co-debtor who co ntinues to owe an obligation secured by the lien, any
                           secured cred itor paid the allowed secu red claim provided for by this plan shall re lease its li ens at the earliest of the time required
                           by applicable state law, order of thi s Court, or thiny (30) days from the entry of the discharge.

 Name of                Estimated               Collateral               Value of      Amo unt of claims      Estimated amount        Interest          Estimated
 creditor               amount of                                        collateral    senior to creditor's   of secured claim        rate              monthly
                        creditor's                                                     claim                                                            payment to
                        total claim                                                                                                                     creditor
                                                                                                                                                        (disbursed by
                                                                                                                                                        the trustee)

 Honda                                          2016
 Financial              $13,253.7               Honda
 Services               5                       Accord                   $12,700.00                $0.00            $12,700.00           6.25%                   $259.00
                                                                                                                                                         (or more)


District of South Caro lina
Effective May I, 20 19                                                                Chapter 13 Plan                                                       Page 2
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Debtor                Walter Frank Pi                                                                Case numb er     19-03201

Name of               Estimated              Collateral               Value of      Amount of claims       Estimated amount     Interest         Estimated
creditor              amount of                                       collateral    senior to creditor's   of secured claim     rate             monthly
                      creditor's                                                    claim                                                        payment to
                      total claim                                                                                                                creditor
                                                                                                                                                 (disbursed by
                                                                                                                                                 the trustee)




                                             2010
                                             Clayton
                                             Oakwood
South                                        28x40
State                  $49,059.6             Mobile
Bank                   0                     Home                     $26,194.00                $0.00          $26,194.00         6.25%                      $533.00
                                                                                                                                                 (or more)

 3.3         Other secured claims ex cluded from 11 U.S.C. § 506 and not otherwise addressed herein.

                          None. lf "None" is checked, th e rest of§ 3.3 need not be comp leted or reproduced.

3.4          Lien avoidance.

                          None. lf " None" is checked, the rest of§ 3.4 need not be co mpl eted or reproduced.

3.5          Surrender of collateral.

              D           None. lf "None" is checked, the rest of§ 3.5 need not be co mp leted or reproduced.
                          The debtor elects to surrender the coll ateral that secures th e claim of the cred itor listed below . The debtor requests that up on
                          confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to th e collateral only and that the stay w1der § 1301
                          be terminated in all respects. A copy of thi s pl an must be served on all co-debtors. Any cred itor who has filed a timely proof of
                          claim may fil e an amended proof of claim itemi zing th e deficiency res ulting from the disposition of the collatera l w ithin a
                          reasonable time after the surrender of the property. A ny such amended claim, if all owed, w ill be treated in Part 5.1 below.

Name of Creditor                                                                     Collateral
                                                                                     Condominium located at 920 Villa         Drive North Myrtle Beach, SC
 Charles and Donna Wharton                                                           29582
                                                                                     Condominium located at 920 Villa         Drive North Myrtle Beach, SC
 Green Capital Funding, LLC                                                          29582
 Harley Davidson Credit                                                              2017 Harley Davidson FLSTFBS
                                                                                     Condominium located at 920 Villa         Drive North Myrtle Beach, SC
 T J Properties, LLC                                                                 29582
                                                                                     Condominium located at 920 Villa         Drive North Myrtle Beach, SC
 Robbers Roost Villas HOA                                                            29582

•@IN Treatment of Fees and Priority Claims
4.1          General

The debtor shall pay all post-petition priority obli gation s, including but not limited to taxes and post-petiti on dome stic support. and pay regul ar
payments on assumed executory contracts or leases, diJectly to th e holder of th e claim as the obligations co me du e, unless oth erwi se ordered by the
Court. Trustee ' s fees and all allowed priority claims, includ ing domestic support obligations other than those treated in § 4. 5, wi ll be pa id in ful l
w ithout postpetiti on interest.

4.2          Trustee's fees

Trustee's fees are governed by statute and may chan ge during th e course of th e case.




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Effective May I, 2019                                                              Chapter 13 Plan                                                   Page 3
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Debtor                 Walter Frank Pi                                                                  Case number         19-03201




4.3          Attorney's fees.

             a.            The debtor and the debtor 's attorney have agreed to an attorney's fee for the services identified in the Ru le 20 16(b) disclosure
                           statement fi led in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Cou1t shall be
                           di sbursed by the trnstee as fo llows: Following confirmation of the p lan and unless the Co urt orders otherwise, the trustee shall
                           disburse a do llar amount consistent with the Judge ' s guidelines to th e attorney from the initial disbursement. Thereafter, the
                           balance of the attorney 's compensation as allowed by th e Court shall be paid, to the extent then due, with all fund s remaining
                           each month after payment of trustee fee s, a ll owed secured cla ims and pre-petition arrearages on domest ic support obli gatio ns. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, wh ich allows for the payment of a p o11ion of the attorney ' s fees in advance of
                           payments to creditors.

             b.             If, as an a lternative to the above treatment, th e debtor 's attorney has rece ived a retainer and cost advance and agreed to fi le fee
                                                                                                                  *
                            applications for compensation and expenses in thi s case pursuant to 11 U.S.C. 33 0, th e retainer and cost advance sha ll be he ld
                            in trust u11til fees and expense reimbursements are approved by th e Court. Prior to the fi ling of thi s case, the attorney has
                            received $NIA and for plan confirmation purposes only, the fees and expenses of co unsel are estimated at $NIA or less.

4.4          Priority claims other than attorney's fees and those treated in § 4.5.

             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic suppo1t ob ligations treated below, on a
             pro rata bas is. If fu nds are ava ilable, the tru stee is authori zed to pay any all owed pri ority claim without further amendme nt of the plan.

              •            Domestic Support Claims. 11 U.S .C. § 507(a)( I):

                            a.            Pre-petition arrearages. The tru stee shall pay the pre-petiti on domestic support obli gation arrearage to (state name of
                                          DSO recipient), at the rate of$ ___ or more per month unti l the balance, without interest, is paid in ful l. Add
                                          additional creditors as needed.

                            b.            The debtor shal l pay all post-petition domestic support ob ligations as defined in 11 U.S.C. § IOI ( 14A) on a timel y basis
                                          directly to the creditor.

                            c.            Any party entitled to collect chil d support or alimony under app licable non-bankruptcy law may collect th ose
                                          ob li gations from property that is not property of the estate or with respect to the withho ldin g of income that is property
                                          of the estate or propeny of the debtor for payment of a domestic support obligation under a judicial or administrative
                                          order or a statute.

4.5           Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

                           None. lf "None" is checked, the rest of§ 4.5 need not be co mpleted or reproduced.

hfu•W Treatment of Nonpriority Unsecured Claims
5.1           Nonpriority unsecured claims not separately classified.

              Allowed nonpri ori ty unsecured claims th at are not separately class ified w ill be paid, pro rata by the trustee to th e extent that fund s are
              availab le after payment of all other allowed claims.

                  The debtor estimates payments of less than 100% of claims.
      D           The debtor proposes payment of 100% of claims.
      D           The debtor proposes payment of I 00% of claims plus interest at the rate of%.

5.2           Maintenance of payments and cure of any default on nonpriority unsecured claims.

                            None. lf "None" is checked. the rest of§ 5.2 need no t be co mpleted or reproduced.

5.3           Other separately classified nonpriority unsecured claims.

                            None. lf "None" is checked, the res t of§ 5.3 need not be completed or reproduced.



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Effective May I, 2019                                                               Chapter 13 P lan                                                       Page 4
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Debtor                 Walter Frank Pi                                                             Case numb er    19-03201



•Rffl•M t:xecutory Contracts and Unexpired Leases
6.1          The executory contracts and unexpired leases listed below arc assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

              [ii          None. If "None" is checked, the rest of§ 6. 1 need not be compl eted or reproduced.

•Rffl•M Vesting of Property of the Estate
7.1          Property of the estate will vest in the d ebtor as stated below:

      [ii     Upon confirmation of the plan, property of the estate w ill remain property of the estate, but possession of property of the estate shall
              remain w ith th e debtor. The chapter I 3 trustee shal l have no responsibility rega rdin g the use or maintenance of property of th e estate.
              The debtor is responsible for protecting the estate from any liabi lity resulting from operation of a business by th e debtor. Nothing in th e
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or patty w ith respect to any causes of action owned by
              the debtor.

      D       Other. The debtor is proposing a non-standard provision for vest ing, whi ch is set forth in section 8.1. This provision will be effective
              on ly if the applicable box in Section 1.3 of thi s pl an is checked and a proposal for vesting is provided in Section 8. 1.

•Rfflf:@ Nonstandard Plan Provisions
8.1          Check "None" or List Nonstandard Plan Provisions
             D      None. If"None" is checked, the rest of Patt 8 need not be co mpleted or reproduced.

Under Bankruptcy Rule 30/ 5(c), nonstandard provisions must be set forth he/ow. A nonstandard provision is a provision not otherwise included in
this form or deviatingfi'om it. No nstandard provisions set out elsewhere in this plan are ineffective.

The following pla11 provisions will be effective 011/y if there is a check in the box "Included" in § 1.3.
 8.1(a)The debtor reserves the right to seek loss mitigation or modification of the mortgage loan using the Loss
 Mitigation/Mortgage Modification Portal procedures described in Chambers Guidelines during the bankruptcy case, which
 may be effective upon subsequent approval by order of the Court.

 8.1(b) Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack
 thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of
 action the debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor
 or other party in interest including, but not limited to, violations of applicable consumer protections codes and actions
 under 11 U.S.C. §§ 542, 543, 544, 547 and 548.

 8.1(c) Confirmation of this plan may determine the character (secured, unsecured, or priority), amount, and timing of
 distribution of a creditor's claim regardless of the proof of claim filed. If a creditor objects to a claim's treatment under the
 plan, the creditor must timely object to confirmation .

 8.1(d) DEBTOR CERTIFICATION

 In connection with this plan, the debtor hereby states that he/she/they carefully reviewed this plan and understand the
 following:
 (1) The obligations set forth in this plan, including the amount, method, and timing of payments made to the trustee and/or
 directly to creditors;
 (2) The consequences of any default under this plan including any direct payments to creditors required by the terms of this
 plan; and
 (3) That debtor may not agree to sell property, employ professionals, or incur debt (including modification of debt) during
 the term of the Ian without the rior authorization of the Bankru tc Court.




Di strict of South Caro lina
Effective May I, 2019                                                            Chapter 13 Plan                                                 Page 5
Sotiware Copyrighl {c) 1996·201 9 Res t Case, LLC • www .bes tcase.com                                                               Rest Case Jlan kruptcy
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Debtor                 Wa lter Frank Pigg                                                             Case numb er   19-03201



•@@M ',ignaturcs:
9.1          Signatures of debtor and debtor attorney



X      Isl Wa lter Fra nk Pigg                                                  X
       Walter Frank Pigg


       Executed on
                             --------------
                             7181201 9                                                 Executed on




X      Isl Eli zabeth R. Heili g                                                Date     7/8120 I 9
       Robert R. Meredith, Jr., D.C. ID#06152
       Elizabeth R. Heilig, D.C. 10#10704
       Meredith Law Firm, LLC
       2411 North Oak Street, Suite 107
       Myrtle Beach, SC 29577
       843-445-6300 (p)
       843-445-6304 (f)


By filin g this document, th e debtor, if not represented by an attorney, or the debtor and th e attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina
Effec tive May 1, 201 9                                                        Chapter 13 Plan                                             Page 6
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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA

  IN RE:                                        )
                                                )
  Walter Frank Pigg                             )        CASE NO: 19-03201-jw
  PO Box 805                                    )
  North Myrtle Beach, SC 29597                  )        CHAPTER 13
  SSN xxx-xx-7007                               )
                                                )
                              DEBTOR.           )


                                        CERTIFICATE OF SERVICE

           The above-signing parties certify that the foregoing Notice, Plan and Motions was served on all
  creditors and parties in interest entitled to such notice on the above stated date. The spec ific li st of names
  and addresses of patties served with this plan is attached to the plan filed with the Cowt.

  VIA US MAIL
  (see attached li st)

  ELECTRONICALLY
  James M. Wyman , Esq uire
  Chapter 13 Trustee
  PO Box 997
  Mt. Pleasant, SC 29465-0997



  Date:___.___.1~9   ![$,___                              Kristi Keen , Paralegal to
                                                          Robert R. Meredith, Jr. , D.C. I.D. #06152
                                                          Elizabeth R. Heilig, D.C. 1.D. # I 0704
                                                          Meredith Law Firm, LLC
                                                          Attorneys for Debtor
                                                          24 1 I North Oak Street, Suite I 07
                                                          Myrtle Beach, SC 29577
                                                          843-445-6300
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Label Matrix for local noticing              Ally Document
                                                  Financial           Page 9 of 11          Ally Financial
0420-2                                       Attn: Bankruptcy                               Attn: Bankruptcy Dept
Case 19-03201-jw                             Po Box 380901                                  Po Box 380901
District of South Carolina                   Bloomington MN 55438-0901                      Bloomington MN 55438-0901
Charleston
Mon Jul 8 17 :35:54 EDT 2019
American Express                             American Express                               American Express National Bank, AENB
PO Box 98140                                 PO Box 981540                                  c/o Zwicker &Associates, P.C.
El Paso TX 79998                             El Paso, TX 79998-1540                         80 Minuteman Road
                                                                                            P.O. Box 9043
                                                                                            Andover, MA 01810-0943

(p)AMERICAN HONDA FINANCE                    (p)BB AND T                                    BB&T Corporation
P OBOX 168088                                PO BOX 1847                                    Attn: Bankruptcy
IRVING TX 75016-8088                         WILSON NC 27894-1847                           Po Box 1847
                                                                                            Wilson NC 27894-1847


(p)BMW FINANCIAL SERVICES                    BMW Financial Services NA, LLC, c/o AIS Port   Bank Of America
CUSTOMER SERVICE CENTER                      4515 N Santa Fe Ave . Dept . APS               4909 Savarese Circle
PO BOX 3608                                  Oklahoma City, OK 73118-7901                   Fll-908-01-50
DUBLIN OH 43016-0306                                                                        Tampa FL 33634-2413


 (p)BANK OF AMERICA                          Barclays Bank Delaware                         Capital One
PO BOX 982238                                Attn: Correspondence                           Attn : Bankruptcy
EL PASO TX 79998-2238                        Po Box 8801                                    Po Box 30285
                                             Wilmington DE 19899-8801                       Salt Lake City UT 84130-0285


Capital One                                  Capital One Bank (USA), N.A.                   Cavalry Portfolio Services
Po Box 30253                                 by American InfoSource as agent                Attn: Bankruptcy Department
Salt Lake City UT 84130-0253                 PO Box 71083                                   500 Summit Lake Ste 400
                                             Charlotte, NC 28272-1083                       Valhalla NY 10595-2322


Cavalry SPV I, LLC                           Chase Card Services                            Citibank/Shell Oil
500 Summit Lake Drive, Ste 400               Attn : Bankruptcy                              Citibank Corp/Centralized Bankruptcy
Valhalla, NY 10595-2321                      Po Box 15298                                   Po Box 790034
                                             Wilmington DE 19850-5298                       Saint Louis MO 63179-0034


Crawford and Von Keller, LLC                 Credit Collection Services                     (p)DISCOVER FINANCIAL SERVICES LLC
PO Box 4216                                  Attn: Bankruptcy                               PO BOX 3025
Columbia SC 29240-4216                       725 Canton St                                  NEW ALBANY OH 43054-3025
                                             Norwood MA 02062-2679


East Coast Credit Union                      First Citizens Bank                            First Citizens Bank &Trust
155 Ochterloney Street, 3rd-4th Floor        Attn: Bankruptcy                               Attn : Bankruptcy
Dartmouth NS B2Y 1C9 Canada                  100 E Tyron Rd                                 100 E. Tyron Road
                                             Raleigh NC 27603-3581                          Raleigh, NC 27603-3581


First Citizens Bank-                         First Community Bank                           First Federal Charleston
Pob 1580                                     Po Box 989                                     Po Box 118068
Roanoke VA 24007-1580                        Bluefield VA 24605-0989                        North Charleston SC 29423-8068
               Case 19-03201-jw        Doc 56   Filed 07/08/19            Entered 07/08/19 17:41:45       Desc Main
(p)FIRST CITIZENS BANK TRUST COMPANY        Fst Fed S&l
                                                Document            Page 10 of 11         Green Capital Funding, LLC
PO BOX 25187                                Po Box 118068                                 1000 Knapps Hwy, Apt. 27
RALEIGH NC 27611-5187                       Charleston SC 29423-8068                      Fairfield, CT 06825-4264



Harley Davidson Financial                   Elizabeth R Heilig                            Elizabeth R Heilig
Attn : Bankruptcy                           Meredith Law Firm, LLC                        Meredith Law Firm, LLC
Po Box 22048                                2411 N. Oak Street                            4000 Faber Place Drive
Carson City NV 89721-2048                   Suite 107                                     Suite 120
                                            Myrtle Beach, SC 29577-3165                   N. Charleston, SC 29405-8585

Horry County Treasurer                      Internal Revenue Service                      Merchants Adjustment Service
PO Box 1828                                 Centralized Insolvency Operations             Attn: Bankruptcy
Conway SC 29528-1828                        PO Box 7346                                   56 North Florida St
                                            Philadelphia PA 19101-7346                    Mobile AL 36607-3108


Midland Funding                             Northwest Federal Credit Union                PRA Receivables Management, LLC
2365 Northside Dr Ste 300                   PO Box 1229                                   Synchrony Bank
San Diego CA 92108-2709                     Herndon VA 20172-1229                         PO Box 41021
                                                                                          Norfolk, VA 23541-1021


PRA Receivables Management, LLC             Phoenix Financial Services. Llc               Piedmont Advantage Credit Union
PO Box 41021                                Attn : Bankruptcy                             PO Box 9013
Norfolk, VA 23541-1021                      Po Box 361450                                 Addison, Texas 75001-9013
                                            Indianapolis IN 46236-1450


Piedmont Advantage Cu                       Walter Frank Pigg                             SC Department of Revenue
3530 Advantage Way                          PO Box 805                                    PO Box 12265
Winston Salem NC 27103-5515                 North Myrtle Beach, SC 29597-0805             Columbia SC 29211-2265



Santander Consumer USA                      South State Bank                              Southwest Credit Systems
Attn : Bankruptcy                           PO Box 118068                                 4120 International Parkway
Po Box 961245                               Charleston SC 29423-8068                      Suite 1100
Fort Worth TX 76161-0244                                                                  Carrollton TX 75007-1958


Syncb/Rooms To Go                           Synchrony Bank                                Synchrony Bank/Amazon
Attn: Bankruptcy                            Attn : Bankruptcy                             Attn : Bankruptcy
Po Box 965060                               Po Box 965060                                 Po Box 965060
Orlando FL 32896-5060                       Orlando FL 32896-5060                         Orlando FL 32896-5060


Synchrony Bank/Care Credit                  Synchrony Bank/PayPal Cr                      Synchrony Bank/Sams
Attn: Bankruptcy Dept                       Attn : Bankruptcy Dept                        Att n: Bankruptcy
Po Box 965060                               Po Box 965060                                 Po Box 965060
Orlando FL 32896-5060                       Orlando FL 32896-5060                         Orlando FL 32896-5060


Synchrony Bank/Walmart                      US Trustee' s Office                          Ward and Smith, PA
Attn : Bankruptcy                           Strom Thurmond Federal Building               PO Box 33009
Po Box 965060                               1835 Assembly Street                          Raleigh NC 27636-3009
Orlando FL 32896-5060                       Suite 953
                                            Columbia, SC 29201-2448
               Case 19-03201-jw             Doc 56        Filed 07/08/19             Entered 07/08/19 17:41:45              Desc Main
James M. Wyman                                       Yamaha Financial Services
                                                         Document            Page 11 of 11
PO Box 997                                           Attn : Bankruptcy
Mount Pleasant, SC 29465-0997                        6555 Katella Ave
                                                     Cypress CA 90630-5101




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank .P. 2002 (g) (4) .


American Honda Finance                               (d)Arnerican Honda Finance Corporation                 BB&T
Attn: Bankruptcy                                     National Bankruptcy Center                             In Care of Bankruptcy Dept
Po Box 168088                                        P.O . Box 168088                                       Po Box 1847
Irving TX 75016                                      Irving, TX 75016-8088                                  Wilson NC 27894


BMW Financial Services NA, LLC                        Bank Of America                                       (d)Bb&T
P.O. Box 3608                                         Attn : Bankruptcy                                     Attn: Bankruptcy
Dublin, OH 43016                                      Po Box 982238                                         Po Box 1847
                                                      El Paso TX 79998                                      Wilson NC 27894


(d)Bmw Financial Services                             Discover Financial                                    First-Citizens Bank &Trust Company
Attn: Bankruptcy Department                           Attn : Bankruptcy Department                          Attn: Bankruptcy Department
Po Box 3608                                           Po Box 15316                                          PO Box 25187
Dublin OH 43016                                       Wilmington DE 19850                                   Raleigh, NC 27611-5187




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address .


(d)Piedmont Advantage Cu                              End of Label Matrix
3530 Advantage Way                                    Mailable recipients     61
Winston-Salem, NC 27103-5515                          Bypassed recipients      1
                                                      Total                   62
